














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






PD NO. 0789-07





DIONICIO CARBAJAL, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


 FROM THE THIRTEENTH COURT OF APPEALS


SAN PATRICIO  COUNTY






	Per curiam.  Keasler and Hervey, JJ., dissent.



ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 68.5,
because the grounds and reasons for review are longer than 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the Court
of Criminal Appeals within thirty days after the date of this order.


En banc.

Delivered:   September 12, 2007

Do Not Publish.


